             IN THE UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF MISSOURI
                           WESTERN DIVISION

UNITED STATES OF AMERICA,         )
                                  )
            Plaintiff,            )
                                  )
     v.                           )    Criminal Action No.
                                  )    10-00244-02-CR-W-DW
BRADLEY COOK,                     )
                                  )
            Defendant.            )

                  REPORT AND RECOMMENDATION TO DENY
              DEFENDANT’S MOTION TO DISMISS INDICTMENT

     Before the court is defendant’s motion to dismiss Counts 1,

2 and 131 of the indictment on the ground that the government is

incapable of proving the elements of the charged offenses beyond

a reasonable doubt.      Because a defendant may not challenge the

sufficiency of the evidence in a motion to dismiss, I will

interpret defendant’s motion as a motion to dismiss for failure

to state an offense.     I find that each count of the indictment

challenged by defendant contains the elements of the offense

charged and fairly informs the defendant of the charge against

which he must defend, and each count of the indictment contains

sufficient information to allow defendant to plead double

jeopardy.   Therefore, defendant’s motion to dismiss should be

denied.




     1
      Defendant actually challenged Count 11 in his motion;
however, that count is numbered Count 13 in the superseding
indictment.


    Case 4:10-cr-00244-BCW   Document 219   Filed 11/04/11   Page 1 of 19
I.     BACKGROUND

       On March 30, 2011, a superseding indictment was returned

charging defendant with conspiracy to commit sex trafficking by

force, fraud, or coercion and to use an interstate facility to

promote an unlawful activity, in violation of 18 U.S.C. § 371;

sex trafficking by force, fraud or coercion, in violation of 18

U.S.C. §§ 1591 and 1594; and using an interstate facility to

facilitate an unlawful activity, in violation of 18 U.S.C. §

1952(a).

II.    MOTION TO DISMISS

       Defendant argues as follows:

       The allegations set forth in the indictment are incapable as
       a matter of law of proving Mr. Cook’s guilt of conspiring
       with either Edward Bagley, Sr., or any of the other co-
       defendants, and Count I should be dismissed for that reason.

       Count II, alleging a violation of 18 U.S.C. § 1951 and 1954,
       merely reasserts the allegations of the conspiracy charge in
       Count I to support the underlying objective of the
       conspiracy, and thus is insufficient as a matter of law for
       the same reasons as stated above.

       Count [XIII], alleging a violation of 18 U.S.C. § 1952,
       merely reasserts the allegations of the conspiracy charge in
       Count I to allege the use of interstate commerce in the
       commission of the conspiracy and trafficking charges, and
       thus is insufficient as a matter of law for the same reasons
       as stated above.

(document number 118).         “The facts set forth by the indictment,

if taken as true, are insufficient to charge Mr. Cook with a

violation of 18 U.S.C. § 371, 18 U.S.C. § 1591 and 1594, or 18

U.S.C. § 1952.”


                                       2


      Case 4:10-cr-00244-BCW    Document 219   Filed 11/04/11   Page 2 of 19
     The government argues that defendant’s sufficiency-of-the-

evidence argument is premature and not properly raised in a

pretrial motion (document number 157).       The government then

recites a litany of evidence it intends to present against

defendant Cook.

Sufficiency of the Evidence

     A challenge to the indictment based on sufficiency of the

evidence should be filed at the close of the government’s case in

chief or at the close of the evidence presented at trial.

F.R.Cr.P. 29(a).

     Sufficiency of the evidence issues cannot be taken up prior

to trial.   United States v. Ferro, 252 F.3d 964, 967-968 (8th

Cir. 2001), citing United States v. Gaudin, 515 U.S. 506, 523

(1995).   “The courts have recognized . . . that an indictment is

not subject to a motion to dismiss based on allegations of the

insufficiency of the government’s evidence.”         United States v.

Jones, 556 F. Supp. 2d 985, 991 (E.D. Mo), citing United States

v. Ferro, 252 F.3d at 968.     “The case law clearly provides that

an indictment that is valid on its face is immune from attack by

a claim that there was insufficient competent evidence presented

to a grand jury.”    Id., citing Costello v. United States, 350

U.S. 359, 363 (1956).    So long as the indictment contains a

facially sufficient allegation, federal criminal procedure does

not provide for a pretrial determination of sufficiency of the


                                    3


    Case 4:10-cr-00244-BCW   Document 219   Filed 11/04/11   Page 3 of 19
evidence.   Id. at 968, citing United States v. Critzer, 951 F.2d

306, 307-08 (11th Cir. 1992).      Instead a pretrial motion must be

based on some defect appearing on the face of the challenged

indictment.   United States v. Mann, 517 F.2d 259, 266-67 (5th

Cir. 1975) (stating that an indictment is to be tested not by the

truth of its allegations, but by its sufficiency to charge an

offense, because the allegations in the indictment must be taken

as true).

     Because a defendant may not challenge the sufficiency of the

evidence in a motion to dismiss, I will interpret defendant’s

motion as a motion to dismiss for failure to state an offense.

Sufficiency of the Indictment

     It is well established that an indictment is sufficient if

it (1) contains the elements of the offense charged and fairly

informs the defendant of the charge against which he must defend,

and (2) enables the defendant to plead an acquittal or conviction

in bar of future prosecutions.      Hamling v. United States, 418

U.S. 87, 117 (1974); United States v. Just, 74 F.3d 902, 903 (8th

Cir. 1996).   The sufficiency of the indictment is to be judged by

practical, and not by technical considerations.          Rood v. United

States, 340 F.2d 506, 509 (8th Cir.), cert. denied, 381 U.S. 906

(1965).   An indictment ordinarily is held sufficient unless it is

so defective that by no reasonable construction can it be said to




                                    4


    Case 4:10-cr-00244-BCW   Document 219   Filed 11/04/11   Page 4 of 19
charge the offense for which the defendant was convicted.             United

States v. Nabors, 45 F.3d 238, 239 (8th Cir. 1995).

     An indictment is sufficient when it tracks the language of

the statute, advises the defendant of the elements of the

offense, apprises him of the charges, and allows him to plead a

conviction or acquittal as an impediment to subsequent

prosecutions.   United States v. Nabors, 45 F.3d at 239.           It is

generally sufficient that the indictment sets forth the offense

in the words of the statute itself, so long as those words fully,

directly, and expressly, without uncertainty or ambiguity, set

forth all the elements necessary to constitute the offense

intended to be punished.     Hamling v. United States, 418 U.S. at

117; United States v. Nabors, 45 F.3d at 239.          However, the

indictment does not have to follow the exact wording of the

statute.   United States v. Haley, 581 F.2d 723, 726 (8th Cir.),

cert. denied, 439 U.S. 1005 (1978).

     Rule 7(c), Federal Rules of Criminal Procedure, requires

that an indictment “shall be a plain, concise and definite

written statement of the essential facts constituting the offense

charged.” Although the language of the statute may be used in the

general description of an offense, it must be accompanied with

such a statement of the facts and circumstances as will inform

the accused of the specific offense, coming under the general




                                    5


    Case 4:10-cr-00244-BCW   Document 219   Filed 11/04/11   Page 5 of 19
description, with which he is charged.          Russell v. United States,

369 U.S. 749, 765 (1962).

        Any discussion of the purpose served by a grand jury

indictment in the administration of federal criminal law must

begin with the Fifth and Sixth Amendments to the Constitution.

Russell v. United States, 369 U.S. at 760.            The Fifth Amendment’s

guarantee of the right to indictment by a grand jury and its

double jeopardy bar along with the Sixth Amendment’s guarantee

that a defendant be informed of the charges against him establish

two minimum requirements for an indictment.            The indictment must

adequately apprise a defendant of the charge against him so that

he can prepare his defense, and it must establish a record that

shows when the defense of double jeopardy may be available to the

defendant in the event future proceedings are brought against

him.     Russell v. United States, 369 U.S. at 763-64.           In this

case, the indictment meets these minimal constitutional stand-

ards.

A.      SIXTH AMENDMENT

        Ordinarily, it is proper for an indictment to be drawn in

the language of the statute, but following the generic wording of

a statute is not necessarily sufficient.

        Where guilt depends so crucially upon . . . a specific
        identification of fact, our cases have uniformly held
        that an indictment must do more than simply repeat the
        language of the criminal statute. “It is an elementary
        principle of criminal pleading, that where the
        definition of an offence, whether it be at common law

                                       6


       Case 4:10-cr-00244-BCW   Document 219   Filed 11/04/11   Page 6 of 19
     or by statute, ‘includes generic terms, it is not
     sufficient that the indictment shall charge the offence
     in the same generic terms as in the definition; but it
     must state the species, it must descend to
     particulars.’”

United States v. Cruikshank, 92 U.S. 542, 558 (1875).            An

indictment not framed to apprise the defendant “with reasonable

certainty, of the nature of the accusation against him . . . is

defective, although it may follow the language of the statute.”

United States v. Simmons, 96 U.S. 360, 362 (1877).           “[T]hese

basic principles of fundamental fairness retain their full

vitality under modern concepts of pleading, and specifically

under Rule 7(c) of the Federal Rules of Criminal Procedure.”

Russell v. United States, 369 U.S. at 765.

     In United States v. Hinkle, 637 F.2d 1154 (7th Cir. 1981),

the defendant was charged in an indictment which read as follows:

     On or about the 30th day of August, 1979, in St. Clair
     County, in the Southern District of Illinois, KAREN L.
     HINKLE, defendant herein, did knowingly and
     intentionally use a communication facility, that is, a
     telephone, to facilitate acts constituting a felony
     under Title 21, United States Code, Section 841(a)(1);
     all in violation of Title 21, United States Code,
     Section 843(b).

Hinkle was charged with six such counts, the only difference

being the dates.

     In reversing the conviction, the Court of Appeals found that

the counts of the indictment charging a violation of § 843 “did

not specify which of the over one hundred and forty-two

controlled substances specified in 21 U.S.C. § 812 appellant may

                                    7


    Case 4:10-cr-00244-BCW   Document 219   Filed 11/04/11   Page 7 of 19
have discussed over the telephone on any given day, nor did they

specify which type of acts, constituting a felony, were

facilitated.”   The court rejected the government's argument that

the indictment was sufficient since it tracked the language of

the statute.

     Here, appellant only knows that she is charged with
     using the telephone on certain days to facilitate in
     some manner the doing of one of six types of acts, any
     of which might involve any one of the one hundred and
     forty-two controlled substances. The indictment tells
     her nothing about the gravamen of the alleged offense:
     what she attempted to facilitate with which controlled
     substance. It is especially important that what she
     attempted to facilitate be spelled out because
     “facilitating” as used in 21 U.S.C. § 843(b) is
     intrinsically . . . vague. . . . .

United States v. Hinkle, 637 F.2d at 1158 (emphasis added).

     The court held that an indictment charging a violation of §

843(b) must contain some sort of statement of what is being

facilitated with that controlled substance which constitutes a

felony.   “Without this crucial, minimal information, a defendant

is deprived of her Sixth Amendment right to be apprised of the

charges against her, and her Fifth Amendment right to establish a

record to defend against the possibility of double jeopardy.”

United States v. Hinkle, 637 F.2d at 1158.

     In United States v. Thomas, 444 F.2d 919 (D.C. Cir. 1971),

the defendant was charged with burglary, and the indictment was

drawn in the language of the statute which prohibited entry of a

dwelling with intent to commit a criminal offense.           The


                                    8


    Case 4:10-cr-00244-BCW   Document 219   Filed 11/04/11   Page 8 of 19
indictment did not state what criminal offense the defendant

intended to commit.    That court stated:

     The prohibition contained in the District’s burglary
     statute against entry of a dwelling with an “intent . .
     . to commit [a] criminal offense” is a proscription on
     entry of a dwelling with any one or more of a certain
     category of specific intents and not merely a
     proscription against entry with a generally evil or
     criminal intent. The statute contains only the genus
     of proscribed intent. . . . As so drawn, [the
     indictment] describes the offense only in impermissibly
     broad and categorical terms. In order to achieve the
     requisite degree of precision, we hold, in accordance
     with the great weight of authority, that the indictment
     must state the particular offense the accused intended
     to commit upon entry into the dwelling.

United States v. Thomas, 444 F.2d at 921 (citations omitted).

     In United States v. Russell, 369 U.S. 749 (1962), the

defendants were convicted of refusing to answer questions when

summoned before a congressional subcommittee.          The indictment

failed to identify the subject under congressional subcommittee

inquiry at the time the witness was interrogated.            It merely

alleged that the questions to which answers were refused “were

pertinent to the question then under inquiry” by the

subcommittee. Id. at 752.     The Supreme Court rejected an argument

that the indictment was sufficient since it tracked the language

of the statute, stating:

     [T]he very core of criminality under 2 U.S.C. § 192 is
     pertinency to the subject under inquiry of the
     questions which the defendant refused to answer. . . .
     Where guilt depends so crucially upon such a specific
     identification of fact, our cases have uniformly held
     that an indictment must do more than simply repeat the
     language of the criminal statute.

                                    9


    Case 4:10-cr-00244-BCW   Document 219   Filed 11/04/11   Page 9 of 19
Id. at 764.    The Court also pointed out that “‘the substantial

safeguards to those charged with serious crimes cannot be

eradicated under the guise of technical departures from the

rules.’”    Id. at 763 (quoting Smith v. United States, 360 U.S. 1,

9 (1959)).

     In stark contrast to the above discussed cases, the

indictment in this case leaves nothing to the imagination.             Each

count follows the wording of the statute allegedly violated.

Each count fully, expressly, and without ambiguity sets forth the

elements necessary to constitute the offense charged.

18 U.S.C. § 371

     Title 18, United States Code, Section 371, states as

follows:

     If two or more persons conspire either to commit any
     offense against the United States, or to defraud the
     United States, or any agency thereof in any manner or
     for any purpose, and one or more of such persons do any
     act to effect the object of the conspiracy, each shall
     be fined under this title or imprisoned not more than
     five years, or both.

     In order to prove a violation of 18 U.S.C. § 371, the

government must prove each of the following elements:

     1.      That two or more persons reached an agreement to (a)

participate in sex trafficking by force, fraud or coercion and

(b) to use an interstate facility to facilitate an unlawful

activity.




                                   10


   Case 4:10-cr-00244-BCW   Document 219   Filed 11/04/11   Page 10 of 19
        2.   That defendant voluntarily and intentionally joined in

the agreement.

        3.   At the time defendant joined the agreement he knew the

purpose of the agreement.

        4.   While the agreement was in effect, a person who had

joined in the agreement knowingly did one or more overt acts for

the purpose of carrying out the agreement.

See Eighth Circuit Model Criminal Jury Instruction 5.06A.

        Count one of the indictment tracks the language of the

statute.     There is nothing in the statute that is vague, and the

indictment contains pages of facts indicating each defendant’s

role in the conspiracy, how the conspiracy was committed and by

whom.    Unlike the cases discussed above, there is no question

left after reading the indictment, and indeed defendant has

pointed to none.    Instead defendant argues that he “[n]ever met,

talked to, or heard of, Dennis Henry, Michael Stokes, or James

Noel” and that the indictment therefore describes nothing more

than a sex transaction between defendant and Bagley.            Defendant’s

argument is without merit. First, there is no requirement that a

defendant know or have contact with all other members of the

conspiracy to be held accountable as a conspirator.            United

States v. McCarthy, 97 F.3d 1562, 1572 (8th Cir. 1996); United

States v. Bascope-Zurita, 68 F.3d 1057, 1569 (8th Cir. 1995),

cert. denied, 516 U.S. 1062 (1996).        And second, defendant cites


                                   11


   Case 4:10-cr-00244-BCW   Document 219    Filed 11/04/11   Page 11 of 19
a news release describing the charged transaction as a sex

transaction because it refers to defendant as a “customer”.

Defendant cites no authority for his position that a news release

can have any control over whether an indictment is sufficient

and, not surprisingly, I have found none.

18 U.S.C. §§ 1591, 1594

     Title 18, United States Code, Section 1591(a) states as

follows:

     (a) Whoever knowingly--

           (1) in or affecting interstate or foreign commerce, or
           within the special maritime and territorial
           jurisdiction of the United States, recruits, entices,
           harbors, transports, provides, obtains, or maintains by
           any means a person; or

           (2) benefits, financially or by receiving anything of
           value, from participation in a venture which has
           engaged in an act described in violation of paragraph
           (1),

     knowing, or in reckless disregard of the fact, that means of
     force, threats of force, fraud, coercion described in
     subsection (e)(2), or any combination of such means will be
     used to cause the person to engage in a commercial sex act,
     or that the person has not attained the age of 18 years and
     will be caused to engage in a commercial sex act, shall be
     punished as provided in subsection (b).

Title 18, United States Code, Section 1594 states as follows:

     (a) Whoever attempts to violate section . . . 1591 shall be
     punishable in the same manner as a completed violation of
     that section.

                               * * * * *

     (c) Whoever conspires with another to violate section 1591
     shall be fined under this title, imprisoned for any term of
     years or for life, or both.

                                   12


   Case 4:10-cr-00244-BCW   Document 219   Filed 11/04/11   Page 12 of 19
     (d) The court, in imposing sentence on any person convicted
     of a violation of this chapter, shall order, in addition to
     any other sentence imposed and irrespective of any provision
     of State law, that such person shall forfeit to the United
     States--

          (1) such person’s interest in any property, real or
          personal, that was used or intended to be used to
          commit or to facilitate the commission of such
          violation; and

          (2) any property, real or personal, constituting or
          derived from, any proceeds that such person obtained,
          directly or indirectly, as a result of such violation.

     (e)(1) The following shall be subject to forfeiture to the
     United States and no property right shall exist in them:

          (A) Any property, real or personal, used or intended to
          be used to commit or to facilitate the commission of
          any violation of this chapter.

          (B) Any property, real or personal, which constitutes
          or is derived from proceeds traceable to any violation
          of this chapter.

     In order to prove a violation of 18 U.S.C. § 1591(a), the

government must prove each of the following essential elements:

Defendant (1) knowingly (2) benefitted financially from (3)

participation in a venture which engaged in or affected

interstate commerce (4) and which recruited, enticed, harbored,

transported, provided, or obtained, by any means, a person (5)

knowing that fraud, force or coercion would be used to cause the

person (6) to engage in a commercial sex act. United States v.

Jones, 2007 WL 2301420 (N.D. Ga. July 18, 2007).

     Count two of the indictment reads as follows:

          Between on or about February 10, 2004, continuing
     through on or about February 27, 2009, in the Western

                                   13


   Case 4:10-cr-00244-BCW   Document 219   Filed 11/04/11   Page 13 of 19
     District of Missouri and elsewhere, EDWARD BAGLEY, BRADLEY
     COOK, MICHAEL STOKES, and MARILYN BAGLEY, defendants herein,
     aiding and abetting one another and others, knowingly, in
     and affecting interstate and foreign commerce, recruited,
     enticed, harbored, transported, provided, and obtained by
     any means, a person, namely FV, and benefitted financially
     and by receiving something of value from participation in a
     venture engaged in recruiting, enticing, harboring,
     transporting, providing, and obtaining FV, knowing that
     force, fraud, and coercion would be used to cause FV to
     engage in a commercial sex act; and attempted to do so.
          All in violation of Title 18, United States Code,
     Sections 1591(a), 1594, and 2.

     Count two tracks the language of both 18 U.S.C. § 1591(a)

and 1594 (attempt).   It includes every essential element of the

offenses.

     Defendant challenges this count on the ground that “§

1591(a) and 1594 are in applicable to the customers of

trafficking victims” and that even if a customer may be charged

as a trafficker, “the indictment is insufficient to show that Mr.

Cook gave anything of value to engage in a commercial sex act

with the alleged victim that would cause him to become a

‘customer’ of the alleged trafficking venture.”             Defendant cites

no legal authority to support this argument.         The indictment

alleges that defendant benefitted financially, and that is

sufficient.

18 U.S.C. § 1952(a)

     Count 13 of the indictment reads as follows:

          The Grand Jury hereby incorporates by reference, and
     alleges herein, the factual allegations in paragraphs A
     through D of Count One of this indictment.


                                   14


   Case 4:10-cr-00244-BCW   Document 219   Filed 11/04/11     Page 14 of 19
          Between on or about February 10, 2004, continuing
     through on or about June 2007, in the Western District of
     Missouri and elsewhere, EDWARD BAGLEY, MARILYN BAGLEY,
     BRADLEY COOK, and MICHAEL STOKES, defendants herein, aiding
     and abetting one another and others, knowingly used a
     facility of interstate commerce with the intent to commit a
     crime of violence to further unlawful activity and otherwise
     promote, establish, carry on, and facilitate the promotion,
     establishment and carrying on, of unlawful activity, to wit:
     prostitution in violation of Mo. St. 567.020, Conspiracy to
     Commit Sex Trafficking in violation of 18 U.S.C. § 371, as
     alleged in Count One of this indictment, and Sex Trafficking
     in violation of 18 U.S.C. § 1591, as alleged in Count Two of
     this Indictment; and attempted to do so.
          All in violation of Title 18, United States Code,
     Sections 1952(a) and 2.

     Defendant’s argument with respect to Count 13, charging a

violation of 18 U.S.C. § 1952(a), is based on the proposition

that the indictment in the other counts is insufficient as to §§

371 and 1591 and the indictment “does not allege that Mr. Cook at

any time performed an act of prostitution” in violation of Mo.

Rev. Stat. 567.020 and therefore this count of the indictment is

insufficient to support the underlying “unlawful activity.”             The

government does not address defendant’s argument as to this

count.

     Defendant’s argument as to     §§ 371 and 1591 is without

merit, as discussed above.     As far as the Missouri prostitution

statute, the indictment does not allege that defendant Cook

offered to engage in sexual conduct in return fo something of

value.   It alleges that he knowingly used a facility of

interstate commerce “to further unlawful activity and otherwise

promote, establish, carry on, and facilitate the promotion,

                                   15


   Case 4:10-cr-00244-BCW   Document 219   Filed 11/04/11   Page 15 of 19
establishment and carrying on, of unlawful activity” which

included prostitution.        The incorporation of paragraphs A through

D of Count 1 of the indictment add further detail to this

allegation.    This count tracks the language of the statute and

includes each essential element of the offense.

Forfeiture

      Finally defendant argues that the forfeiture count is

insufficient because it “calls for Mr. Cook and Mr. Bagley to

forfeit currency in an amount not less than $112,200, which

constitutes the alleged ‘proceeds from the offenses set forth in

Count Three.’     Count III charges Ed Bagley, Sr., alone”.

      The section of the forfeiture count in the superseding

indictment dealing with the $112,200 is directed only at

codefendant Edward Bagley, Sr., not at defendant.              The forfeiture

count as to defendant Cook includes only computers.

      Based on all of the above, I find that the indictment

provides, in sufficient detail, adequate notice of the charges to

which defendant must answer.        Therefore, the requirements of the

Sixth Amendment have been met.

B.    FIFTH AMENDMENT

      The Fifth Amendment’s guarantee of the right to indictment

by a grand jury and its double jeopardy bar establish a minimum

requirement for an indictment.        Russell v. United States, 369

U.S. at 763-64.


                                      16


     Case 4:10-cr-00244-BCW    Document 219   Filed 11/04/11   Page 16 of 19
     In United States v. Nance, 533 F.2d 699 (D.C. Cir. 1976),

the defendants were convicted of one count of executing a scheme

to defraud by wire and ten counts of obtaining something of value

by false pretenses with intent to defraud in violation of D.C.

Code § 22-1301(a).    The indictment charged the substantive counts

as follows:

     On or about the dates hereinafter specified for each
     count, VIRGIL GINYARD and MARYLAND NANCE, JR.,
     defendants herein, with intent to defraud, made and
     caused to be made the following false representations
     to the following customers, knowing said
     representations were untrue, but the customers,
     believing them to be true and relying thereon, on or
     about the dates hereinafter specified for each count,
     within the District of Columbia, delivered and caused
     to be delivered to the defendants something of value,
     that is, money of a value in excess of $100.

     The indictment then listed, in column form, each count

including the names of the victims, the dates of the

misrepresentations, the amount of money received from each

victim, and the dates the money was received.

     The court rejected the government’s argument that since the

indictment tracked the language of the statute it was sufficient,

stating as follows:

     [N]one of the remaining counts allege any of the
     factual particulars of the false representations which
     defrauded the victim. The name of the victim, the date
     of the false representation, the amount involved and
     the date the sum was paid are all alleged, but as for
     the false representations which induced the victims to
     part with their money, which are the very core of the
     offense, counts 4-11 of the indictment are content with
     alleging that the defendants “made and caused to be
     made the following representations to the following

                                   17


   Case 4:10-cr-00244-BCW   Document 219   Filed 11/04/11   Page 17 of 19
       customers, knowing said representations were untrue . .
       .” and then fails to set forth any of the
       representations that allegedly “were untrue.” . . .
       [A]bsent any allegation whatsoever in the indictment as
       to what the false pretenses were, the United States
       Attorney would have a free hand to insert the vital
       part of the indictment without reference to the grand
       jury. The law does not vest him with such authority.

United States v. Nance, 533 F.2d at 700-701 (emphasis added).

       In this case, there is a factual basis for each and every

element of each and every offense charged.           The indictment

provides defendant with specific details of the alleged

conspiracy and the overt acts; it provides specific details of

sex trafficking offense; and it provides specific details of the

count charging a use of a facility of interstate commerce.                The

United States Attorney has no opportunity to insert a vital part

of the indictment without reference to the grand jury.

Therefore, the Fifth Amendment requirement that charges be

brought by a grand jury has been met.

       In addition, the indictment provides sufficient detail to

enable defendant to plead acquittal or conviction as a bar to

future prosecution, also required by the Fifth Amendment.               Each

count of the indictment alleges specific facts, places, time

periods, participants, and alleged actions.

IV.    CONCLUSION

       I find that each count of the indictment discussed above

contains the elements of the offense charged and fairly informs

the defendant of the charge against which he must defend, and

                                      18


      Case 4:10-cr-00244-BCW   Document 219   Filed 11/04/11   Page 18 of 19
each count of the indictment contains sufficient information to

allow defendant to plead double jeopardy.        Therefore, it is

     RECOMMENDED that the court, after an independent review of

the pleadings and applicable law, enter an order denying the

defendant’s motion to dismiss the indictment for failure to state

an offense.

     Counsel are advised that, pursuant to 28 U.S.C. § 636(b)(1),

each has 14 days from the date of receipt of a copy of this

report and recommendation to file and serve specific objections

unless an extension of time for good cause is obtained.




                                 ROBERT E. LARSEN
                                 United States Magistrate Judge

Kansas City, Missouri
November 4, 2011




                                   19


   Case 4:10-cr-00244-BCW   Document 219   Filed 11/04/11   Page 19 of 19
